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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               BROWSVILLE DIVISION

STATE OF TEXAS, et al.,                              )
                                                     )
               Plaintiffs,                           )
                                                     )
       v.                                            )     Case No. 1:18-CV-68
                                                     )
UNITED STATES OF AMERICA, et at.,                    )
                                                     )
               Defendants,                           )
                                                     )
and                                                  )
                                                     )
KARLA PEREZ, et al.,                                 )
                                                     )
               Defendant-Intervenors,                )
                                                     )
and                                                  )
                                                     )
STATE OF NEW JERSEY,                                 )
                                                     )
               Defendant-Intervenor.                 )


                                    NOTICE OF ERRATA


       On Friday, June 7, 2019, Federal Defendants filed a motion for a protective order

regarding discovery in this matter. See ECF No. 393. Federal Defendants’ filing omitted the

appendix of unpublished authorities required by Rule 7 of Judge Hanen’s Civil Procedures. That

appendix is now filed as an attachment to this notice.

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     Case 1:18-cv-00068 Document 395 Filed on 06/10/19 in TXSD Page 2 of 2



                                                        Respectfully submitted,
Dated: June 10, 2019
                                                        /s/ Jeffrey S. Robins
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Attorneys for Federal Defendants


                                   CERTIFICATE OF SERVICE

          I certify that on June 10, 2019, this document was electronically filed with the Clerk of

the Court using CM/ECF system, which will send notifications of such filings to all counsel of

record.

                                                        /s/ Jeffrey S. Robins
                                                        JEFFREY S. ROBINS
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   BROWSVILLE DIVISION

STATE OF TEXAS, et al.,                                )
                                                       )
                   Plaintiffs,                         )
                                                       )
           v.                                          )      Case No. 1:18-CV-68
                                                       )
UNITED STATES OF AMERICA, et at.,                      )
                                                       )
                   Defendants,                         )
                                                       )
and                                                    )
                                                       )
KARLA PEREZ, et al.,                                   )
                                                       )
                   Defendant-Intervenors,              )
                                                       )
and                                                    )
                                                       )
STATE OF NEW JERSEY,                                   )
                                                       )
                   Defendant-Intervenor.               )


                          APPENDIX OF UNPUBLISHED AUTHORITIES

           Pursuant to this Court’s Civil Procedure, Rule 7, Federal Defendants hereby provide the

Court with the following appendix of unpublished authorities cited in its motion for a protective

order:

  TAB                                     AUTHORITY                                   PAGE #
   1.           Baker v. Holder, No. 06-CV-91-HRW, 2010 WL 1334924 (E.D.           Fed. Defs. 001
                Ky. Mar. 30, 2010)
      2.        Guajardo v. Martinez, No. 2:14-CV-450, 2015 WL 12831683            Fed. Defs. 009
                (S.D. Tex. Dec. 22, 2015)
      3.        Von Drake v. National Broadcasting Co., Inc., No. 3-04-CV-         Fed. Defs. 012
                0652R, 2004 WL 1144142 (N.D. Tex. May 20, 2004)
      4.        Adame v. Refugio County, No. 2:16-CV-139, 2018 WL 1918656          Fed. Defs. 015
                (S.D. Tex. Apr. 24, 2018)
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                            Tab 1




                                                               Fed. Defs. 001
Baker v.Case
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                                                             On January 17, 2007, the Court entered a Memorandum
                                                             Opinion and Order rejecting each of Baker's claims
                 2010 WL 1334924
                                                             upon initial screening and dismissing the Complaint with
   Only the Westlaw citation is currently available.
                                                             prejudice. [R. 22, 23] The Court rejected each claim
    United States District Court, E.D. Kentucky,
                                                             as lacking in legal merit, as barred by the statute of
           Northern Division, at Ashland.
                                                             limitations, for failure to exhaust administrative remedies,
            David Wayne BAKER, Plaintiff,                    or for several of these reasons. Baker timely appealed that
                         v.                                  decision to the Court of Appeals for the Sixth Circuit. [R.
              Attorney General Eric H.                       25]
           HOLDER., Jr., et al., Defendants.
                                                             On July 3, 2008, the Sixth Circuit entered its opinion
           Civil Action No. 06–CV–91–HRW.                    on appeal. [R. 36] The opinion does not address Baker's
                            |                                claims regarding health care co-payments or possession
                     March 30, 2010.                         of his PSR, claims that Baker apparently abandoned on
                                                             appeal. With respect to the prison's policy of opening
Attorneys and Law Firms                                      mail received from courts outside of his presence, the
                                                             Sixth Circuit affirmed the dismissal of claims accruing on
David Wayne Baker, Ashland, KY, pro se.                      or before November 29, 2004, as barred by the statute
                                                             of limitations. The Sixth Circuit reversed this Court's
Anna R. Gwinn, U.S. Attorney's Office, Lexington, KY,
for Defendants.                                              dismissal of claims accruing after that date for failure
                                                             to demonstrate exhaustion of administrative remedies
                                                             as contrary to the Supreme Court's intervening decision
                                                             in Jones v. Bock, 549 U.S. 199, 127 S.Ct. 910, 166
     MEMORANDUM OPINION AND ORDER
                                                             L.Ed.2d 798 (2007). Similarly, the Sixth Circuit affirmed
HENRY R. WILHOIT, JR., District Judge.                       this Court's dismissal of Baker's March 15, 2004, claim
                                                             regarding receipt of sexually-explicit magazines as time-
 *1 Defendants United States of America, the Bureau          barred, but reversed dismissal of his March 14, 2006,
of Prisons (“BOP”), Warden E.K. Cauley, and Inmate           claim for failure to demonstrate exhaustion as contrary
Systems Manager Cathy Wyatt have filed a Motion to           to Jones. Finally, the Sixth Circuit concluded that
Dismiss, or in the Alternative, Motion for Summary           Baker's allegations regarding these two types of claims
Judgment. [R. 51] Plaintiff David Wayne Baker has filed      were sufficiently well pled to satisfy the particularity
his response in opposition to the motion. [R. 55] The        requirements of Federal Rule of Civil Procedure 8. The
motion is therefore ripe for decision.                       Sixth Circuit entered its mandate on September 11, 2008.
                                                             [R. 37]

I. Background                                                Following remand, on June 16, 2009, the Court ordered
Baker is an inmate confined at the Federal Correctional      service of process upon defendants on the surviving
Institution in Ashland, Kentucky. On June 6, 2006,           claims. [R. 41] In response, the Defendants filed their
Baker filed his Complaint in this action pursuant to the     motion to dismiss or for summary judgment on August
doctrine announced in Bivens v. Six Unknown Federal          11, 2009. [R. 51] As grounds for their motion, Defendants
Narcotics Agents, 403 U.S. 388, 91 S.Ct. 1999, 29 L.Ed.2d    indicate that Baker did not file any inmate grievances
619 (1971). [R. 1] In his Complaint, Baker challenged        with respect to his legal mail claims on or after June
(1) the BOP's imposition of a co-payment for health          6, 2005, the one-year anniversary date before the filing
care services; (2) its regulation preventing inmates from    of this Complaint, and that he did not file any inmate
possessing a copy of their presentence report (“PSR”);       grievances with respect to his sexually-explicit magazine
(3) its regulations permitting mail received from courts     claim on or after March 15, 2006, the date on which he
which lack the required labeling to be opened outside the    informally requested staff permit him to order and receive
presence of the inmate; and (4) its regulation preventing    such materials. Defendants therefore argue Baker has not
inmates from receiving sexually-explicit materials.          administratively exhausted these claims. Defendants also



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generically contend that the BOP's regulations regarding        199, 215, 127 S.Ct. 910, 166 L.Ed.2d 798 (2007) (“If the
the handling of mail from courts and sexually-explicit          allegations, for example, show that relief is barred by the
materials are constitutionally sound.                           applicable statute of limitations, the complaint is subject
                                                                to dismissal for failure to state a claim.”)
 *2 In his response [R. 55], Baker implicitly acknowledges
that he did not file inmate grievance forms with respect        Even if this were not so, the defenses raised by the
to his surviving claims, but contends (1) the Defendants        Defendant are properly before the Court. Because the
may not raise exhaustion in a motion to dismiss under           Defendants have included additional material in support
Rule 12; (2) his exhaustion of claims which are barred by       of their motion and rely upon materials extrinsic to the
the statute of limitations nonetheless gave “fair notice”       Complaint, the Court must treat their motion as one for
to the Defendants of those claims which are not, and the        summary judgment under Rule 56. Fed.R.Civ.P. 12(d);
latter should therefore be deemed exhausted; and (3) he         Mays v. Buckeye Rural Elec. Co-op., Inc., 277 F.3d 873,
was not required to file a grievance with respect to each       877 (6th Cir.2002) (district court may properly consider
act taken pursuant to an established policy which he is         motion to dismiss as one for summary judgment when
challenging. With respect to the merits of his claims, Baker    invited to consider matters outside the pleadings); Ball v.
asserts that he has stated viable claims and that genuine       Union Carbide Corp., 385 F.3d 713, 719 (6th Cir.2004)
issues of material fact preclude the entry of summary           (where defendant moves both to dismiss and for summary
judgment. Finally, Baker contends that he is entitled to        judgment, plaintiff is on notice that summary judgment
discovery prior to determination of Defendants' motion          is being requested). The question of exhaustion and the
under Federal Rule of Civil Procedure 56(f). Baker has          viability of Baker's claims are therefore properly before
also filed separate motions to file an amended complaint        the Court on Defendants' motion for summary judgment.
and to compel discovery. [R. 56, 57] The Court will discuss
each of these matters below.                                     *3 Rule 56 requires the entry of summary judgment for
                                                                the moving party if “there is no genuine issue as to any
                                                                material fact and that the moving party is entitled to a
II. Discussion                                                  judgment as a matter of law.” Fed.R.Civ.P. 56(c); Kand
                                                                Medical, Inc. v. Freund Medical Products, Inc., 963 F.2d
   A. Defendants' Motion for Summary Judgment.
                                                                125, 127 (6th Cir.1992). The rule permits a defendant to
Defendants have moved to dismiss the Complaint for
                                                                challenge the viability of the plaintiff's claim by asserting
failure to state a claim under Federal Rule of Civil
                                                                that at least one essential element of plaintiff's claim is not
Procedure 12(b)(6) or, in the alternative, for summary
                                                                supported by legally-sufficient evidence. Celotex Corp. v.
judgment pursuant to Rule 56. [R. 51] Baker opposes the
                                                                Catrett, 477 U.S. 317, 324–25, 106 S.Ct. 2548, 91 L.Ed.2d
Defendants' motion under Rule 12 because, he asserts,
                                                                265 (1986). The defendant does not need his own evidence
the affirmative defense of failure to exhaust administrative
                                                                to support this assertion, but need only point to the
remedies is not one of the enumerated defenses expressly
                                                                absence of evidence favoring the plaintiff. Turner v. City of
identified in Rule 12(b). [R. 55 at pg. 10–13] Rule 12(b)
                                                                Taylor, 412 F.3d 629, 638 (6th Cir.2005). In response, the
requires that every defense to a claim be asserted in a
                                                                plaintiff cannot rely upon allegations in the pleadings, but
responsive pleading such as an answer, but also permits
                                                                must point to evidence of record in affidavits, depositions,
a party to assert certain defenses, such as improper venue
                                                                and written discovery which demonstrate that factual
or lack of personal jurisdiction, by motion. Through
                                                                questions remain for trial. Hunley v. DuPont Auto, 341
its use of the term “may,” Rule 12(b) permits, but
                                                                F.3d 491, 496 (6th Cir.2003). If the totality of the
does not require, the identified bases for dismissal to be
                                                                evidence submitted—viewed in a light most favorable to
asserted by motion. Nothing in the terms of the rule
                                                                the plaintiff with the benefit of any reasonable factual
precludes the assertion of other substantive bases for
                                                                inferences which can be drawn in his favor, Harbin–
dismissal by motion. Indeed, other unenumerated grounds
                                                                Bey v. Rutter, 420 F.3d 571, 575 (6th Cir.2005)—“would
for dismissal—such as failure to exhaust administrative
                                                                require a directed verdict for the moving party,” summary
remedies and the statute of limitations—are commonly
                                                                judgment must be granted. Anderson v. Liberty Lobby,
decided on motions to dismiss, a practice approved by the
                                                                Inc., 477 U.S. 242, 251, 106 S.Ct. 2505, 91 L.Ed.2d
Sixth Circuit and the Supreme Court. Scott v. Ambani,
                                                                202 (1986). If the applicable substantive law requires the
577 F.3d 642, 647 (6th Cir.2009); Jones v. Bock, 549 U.S.


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nonmovant to meet a higher burden of proof, his evidence
must be sufficient to sustain a jury's verdict in his favor in    In his Complaint, however, Baker also complained of
light of that heightened burden of proof at trial. Harvey         the same conduct occurring long after he had completed
v. Hollenback, 113 F.3d 639, 642 (6th Cir.1997); Moore,           the grievance process. While certain of this conduct
Owen, Thomas & Co. v. Coffey, 992 F.2d 1439, 1444 (6th            appeared to fall within the statute of limitations period,
Cir.1993).                                                        and hence would not be time barred, notably absent
                                                                  from the extensive documentation provided by Baker
Baker asserts that the motion for summary judgment                regarding his efforts at exhaustion was any indication that
is premature because he has not yet been afforded the             he had exhausted his administrative remedies regarding
opportunity to conduct discovery. While Baker invokes             this later conduct. On this ground, the Court found that
Rule 56(f), his affidavit does not establish that he “cannot      Baker had not exhausted his administrative remedies, a
present facts essential to justify its opposition” to the         determination reversed by the Sixth Circuit in light of the
motion. Baker asserts that he seeks (1) the identity of           Supreme Court's subsequent decision in Jones v. Bock, 549
the “Unknown John Does” named as Defendants in his                U.S. 199, 127 S.Ct. 910, 166 L.Ed.2d 798 (2007). [R. 36]
Complaint; (2) information regarding Defendant Wyatt's
authorization of or participation in opening his incoming         The question to be determined on remand is therefore
legal mail; and (3) a listing of all incoming legal mail          whether Baker did, in fact, administratively exhaust these
that was opened. But Baker offers no explanation how              claims. The Defendants state unequivocally that he did
this information would assist him in resisting Defendants'        not:
motion for summary judgment, which is based upon
exhaustion of administrative remedies and the pure
questions of law regarding the constitutionality of the                       An examination of Plaintiff's official
BOP's regulations regarding incoming legal mail and                           administrative    remedy      history
sexually-explicit materials. Because the information Baker                    shows on or after the relevant
seeks is not relevant to these questions, a request for time                  dates ... Plaintiff did not file
to conduct discovery is not a basis to delay consideration                    any administrative remedies at any
of Defendants' summary judgment motion. Stewart v.                            level regarding the opening of his
Evans, 351 F.3d 1239, 1244 (D.C.Cir.2003) (in Bivens                          legal mail or the sexually-explicit
suit under Fourth Amendment, Rule 56(f) request for                           publication ban.
discovery was properly denied where no amount of
discovery could have altered undisputed facts); Building
and Const. Dept. v. Rockwell Intern. Corp., 7 F.3d 1487           Declaration of Joseph Tang at ¶ 6. [R. 51–2] In his
(10th Cir.1993) (where requesting parties failed to show          response, Baker does not contradict this critical assertion.
that discovery would produce any evidence relevant to             At several places in his response, Baker asserts that
motion, Rule 56(f) motion is properly denied).                    there is a factual dispute about whether he exhausted
                                                                  his administrative remedies, but there is none. What
                                                                  Baker does contend is that although he did not exhaust
  B. Exhaustion of Administrative Remedies.
                                                                  his administrative remedies with respect to his surviving
 *4 Federal law requires a prisoner to exhaust all
                                                                  claims by invoking and completing the BOP's inmate
administrative remedies available through the prison's
                                                                  grievance process, he nonetheless was either not required
inmate grievance system prior to filing suit. 28 U.S.C. §
                                                                  to do so or should be deemed to have done so as a matter
1997e(a). In the Court's January 17, 2007, Memorandum
                                                                  of law. The Court will discuss his arguments in turn.
Opinion and Order, the Court noted that Baker had
administratively exhausted his claims regarding opening
                                                                  First, Baker argues that through his prior invocation of
of his “legal mail” on April 29, 2004, and his claims
                                                                  the grievance process in 2004, the BOP was put on “fair
regarding receipt of sexually-explicit materials on July 20,
                                                                  notice” of his claims, and therefore he was not required to
2004. Because he waited until June 6, 2006, to file suit,
                                                                  exhaust his claims again for conduct occurring thereafter.
however, the Court found that his claims were barred by
                                                                  Baker cites Burton v. Jones, 321 F.3d 569, 575 (6th
the statute of limitations, [R. 22] a conclusion affirmed by
                                                                  Cir.2003) for this proposition, which set forth the Sixth
the Sixth Circuit on appeal. [R. 36]


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Circuit's rule that a grievance must give “prison officials     therefore establishes that Baker has not exhausted his
fair notice of the alleged mistreatment or misconduct           administrative remedies with respect to any timely-filed
that forms the basis of the constitutional or statutory         surviving claim, and those claims must therefore be
claim made.” Contrary to Baker's suggestion, Burton's           dismissed with prejudice. Woodford v. Ngo, 548 U.S. 81,
holding relates to the sufficiency of the allegations made      86, 126 S.Ct. 2378, 165 L.Ed.2d 368 (2006).
in a particular prison grievance to put prison officials
on notice of the nature of prisoner's claim—it does not
remotely support the notion that once prison officials are        C. Merits of the Underlying Claims.
aware of that claim, the prisoner is thereafter excused from    Even if Baker had timely and properly exhausted his
fully and properly exhausting a claim arising out of similar    administrative remedies, both of his surviving claims
but distinct conduct as required by 42 U.S.C. § 1997e and       would fail on the merits.
Woodford v. Ngo, 548 U.S. 81, 86, 126 S.Ct. 2378, 165
L.Ed.2d 368 (2006).                                             Baker's first claim is that the BOP is violating his
                                                                constitutional rights by opening mail, outside of his
 *5 Second, Baker argues that because the conduct about         presence, which is sent to him by a state or federal
which he complained was the same in each instance               court but which lacks the “Special Mail—Open only
and taken pursuant to an established BOP regulation,            in the presence of the inmate” label required by BOP
he was not required to initiate a separate grievance for        regulations for “Special Mail” treatment. 28 C.F.R. §
each occurrence. There is authority which holds that            540.2(c). As support for his argument, Baker relies on the
where the issue complained of is not an isolated or             Sixth Circuit's statement in Sallier v. Brooks, 343 F.3d
particular instance of conduct, but a policy or repeated        868, 877 (6th Cir.2003) that “mail from a court constitutes
pattern of conduct, the inmate may exhaust administrative       ‘legal mail’ and cannot be opened outside the presence of
remedies by filing a single grievance, and is not required      [the inmate].”
to separately grieve each event. Howard v. Waide, 534
F.3d 1227, 1244 (10th Cir.2008) (citing Johnson v. Johnson,     This Court has previously noted, however, that this
385 F.3d 503, 521 (5th Cir.2004)); Aiello v. Litscher, 104      isolated sentence indicates only the recognition of the
F.Supp.2d 1068, 1074 (W.D.Wis.2000). The Sixth Circuit          basic right of prisoner's to receive mail. Both the Supreme
has not addressed the issue.                                    Court and the Sixth Circuit have long recognized that this
                                                                right is subject to reasonable regulation to meet a prison's
However, the Court need not determine whether a                 security needs. Wolff v. McDonnell, 418 U.S. 539, 576–
prisoner's challenge to a pattern of conduct taken              77, 94 S.Ct. 2963, 41 L.Ed.2d 935 (1974) (inmates' right
pursuant to a policy may be administratively exhausted          to have legal mail opened only in their presence is subject
by filing a single grievance, because such a determination      to reasonable prison regulations); Knop v. Johnson, 977
would not assist Baker even if decided in his favor.            F.2d 996, 1012 (6th Cir.1992) (prison officials may impose
Entirely apart from the merits of his underlying claims,        restrictions that are reasonably related to security or other
Baker must have satisfied two procedural requirements           legitimate penalogical objectives); Lavado v. Keohane,
for each claim: he must have timely and properly                992 F.2d 601, 607 (6th Cir.1993) (“prison officials may
exhausted his administrative remedies, and then filed           open prisoners' incoming mail pursuant to a uniform and
suit within the statute of limitations. Baker has not           evenly applied policy with an eye to maintaining prison
satisfied both of these procedural requirements with            security.”)
respect to any claim. As previously noted, while Baker
did administratively exhaust both of his surviving claims        *6 In a decision issued after Sallier was handed down, at
in 2004, his failure to file suit until 2006 resulted in        least one district court found no constitutional violation
those claims being time-barred. And while his Complaint         where the BOP adhered to the same mail regulations
filed in 2006 may complain of conduct occurring                 at issue in this case. Merriweather v. Zamora, 2006 WL
within the one year immediately preceding its filing,           2711809, at *4 (E.D.Mich.2006) (“BOP P.S. 5265.11 is
the record establishes that he did not exhaust his              a reasonable regulation within the meaning of Wolff.
administrative remedies with respect to that conduct            The envelopes [which] did not indicate “legal mail,”
which transpired within the limitations period. The record      “open only in presence of inmate,” or substantially
                                                                similar language and were therefore not accorded


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constitutionally protected status.”). The Court cited            at issue here, and have correctly found that a prison's
the Merriweather opinion in its original Memorandum              need to maintain institutional security and to deter
Opinion and Order dismissing the case. During the                aggressive or violent behavior amply justifies the limited
pendency of Baker's appeal and subsequent proceedings,           restriction imposed. See Robertson v. South Carolina
the Merriweather decision has been affirmed in pertinent         Dep't of Corrections, 2010 WL 679070, at *9 (D.S.C.
part. In Merriweather v. Zamora, 569 F.3d 307 (6th               February 24, 2010) (“the SCDC policy is an incentive to
Cir.2009), the Sixth Circuit affirmed the dismissal on           promote good behavior and a desire to avoid placement
qualified immunity grounds of claims against mailroom            in the ASU. Furthermore, restricting prisoner access to
employees in a federal prison to the extent those                pornography is rational because the restriction reduces
individuals acted consistently with the same BOP policy          the risk that inmates will engage in disruptive sexual acts
at issue here. Id. at 312 (“Before turning to the qualified      and/or sexual violence, thereby promoting institutional
immunity analysis, we must first consider whether any of         security.”); Baasi v. Fabian, 2010 WL 924384, at * 12
the contested pieces of mail qualify as properly labeled         (D.Minn. March 11, 2010) (“restricting a prisoner's access
legal mail.”) Noting that the Supreme Court upheld the           to sexually explicit materials is reasonably related to the
validity of prison mailroom regulations similar to those         legitimate penalogical interests of safety, of preventing
here over thirty years ago, Wolff v. McDonnell, 418 U.S.         sexual harassment, and of rehabilitating sex offenders.”)
539, 94 S.Ct. 2963, 41 L.Ed.2d 935 (1974), the Sixth Circuit     (finding other Turner factors satisfied where prison
held that in the aftermath of Sallier it is the “ ‘blatant       officials had no other viable means to protect prison
disregard’ for mail handling regulations concerning              safety from disruptive effects of pornographic material
legal mail [that] violates constitutional protections.”          and inmate retained alternative means of exercising
Merriweather, 569 F.3d at 317. Here, Baker does not              First Amendment rights); Beard v. Banks, 548 U.S.
contend that BOP employees disregarded the applicable            521, 532–33, 126 S.Ct. 2572, 165 L.Ed.2d 697 (2006)
mail regulations; rather, he asserts that they are liable for    (upholding policy prohibiting inmates from accessing
adhering to a policy which is itself unconstitutional. In        newspapers, magazines, and photographs against First
light of the Sixth Circuit's affirmance in Merriweather, this    Amendment challenge under Turner standard). The Court
claim unquestionably fails as a matter of law.                   therefore reiterates its agreement with the District of
                                                                 Columbia Court of Appeals that the Ensign Amendment's
Baker's second claim is that the BOP regulations which           prohibition against a prisoner receiving sexually explicit
prohibit federal prisoners from purchasing or obtaining          materials satisfies Safley's requirement that the regulation
sexually-explicit materials violates his constitutional          be “reasonably related to legitimate penalogical interests.”
rights. Program Statement 5266.10 ¶ 7 implements                 Safley, 482 U.S. at 89; Amatel, 156 F.3d at 196–202.
28 C.F.R. § 540.72 and 28 U.S.C. § 530C(b)(6) (the               Baker's constitutional challenge to the BOP's regulations
“Ensign Amendment”). As the Court noted in its                   regarding sexually-explicit materials therefore fails as a
original opinion, numerous court have upheld the BOP's           matter of law.
regulations in general and the Ensign Amendment in
particular against constitutional challenges by prisoners.
Thompson v. Patterson, 985 F.2d 202, 207 (5th Cir.1993)            D. Baker's Motion to Compel Discovery and to Amend
(prison officials may restrict access to sexually explicit         Complaint.
materials consistent with the First Amendment); Amatel v.         *7 Approximately one month after Baker filed his
Reno, 156 F.3d 192, 196–202 (D.C.Cir.1998) (restrictions         response to the Defendants' motion for summary
imposed by Ensign Amendment on prisoner's First                  judgment, on November 19, 2009, Baker filed a motion
Amendment rights satisfy Turner v. Safley, 482 U.S.              to compel the Defendants to respond to interrogatories
78, 107 S.Ct. 2254, 96 L.Ed.2d 64 (1987) standards);             he propounded upon them shortly after they filed their
see also Boyd v. Stalder, 2006 WL 3813711, at *4–5               motion. [R. 57] In his motion, Baker indicates that on
(W.D.La. December 27, 2006) (upholding state prison rule         August 20, 2009, he sent interrogatories to the Defendants
prohibiting receipt of sexually-explicit materials).             seeking information on how incoming mail addressed
                                                                 to prisoners is handled by mailroom staff, as well as
Numerous courts have been faced with challenges to               the identities of mailroom staff who handled that mail.
prison policies that are functionally identical to the one       Baker asserts that when he had not received a response
                                                                 to his discovery requests, on October 1, 2009, he sent a


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letter to Defendants' counsel inquiring as to the status         received from courts after his complaint was filed in this
of a response. Defendants' counsel apparently failed to          action. While leave to file an amended complaint may
respond to Baker's second letter on October 21, 2009.            be freely granted under Federal Rule of Civil Procedure
Defendants also did not file any response to Baker's             15, the Court will deny leave to amend the Complaint
motion to compel.                                                at this late stage in the proceedings. This case was filed
                                                                 nearly four years ago, and has already been appealed
As a threshold matter, one cannot condone the                    the Sixth Circuit and remanded for further proceedings.
Defendants' failure to respond to Baker's discovery              First, the sheer passage of time is sufficient ground to
requests, to his correspondence regarding those discovery        deny amendment in light of the evident prejudice to the
requests, or to his motion to compel. While Baker delayed        Defendants. Duncan v. Manager, Dept. of Safety, City and
in making any discovery requests until a motion for              County of Denver, 397 F.3d 1300, 1315 (10th Cir.2005)
summary judgment had been filed, the appropriate step            (untimeliness alone is an adequate reason to refuse leave
for a party wishing to avoid discovery pending the               to amend a complaint); Conner v. Illinois Dept. of Natural
outcome of a dispositive motion is to request a stay of          Resources, 413 F.3d 675, 679 (7th Cir.2005) (affirming
discovery or seek a protective order, it is not to simply        denial of motion to amend complaint when filed late
ignore the request. See Apotex Corp. v. Merck & Co.,             in litigation and in response to motion for summary
Inc., 229 F.R.D. 142, 145 (N.D.Ill.2005) (contention that        judgment). Further, the amended complaint seeks to add
patentee would ultimately lose case was not a proper             merely new instances of BOP mailroom staff opening
basis to refuse to respond to its discovery requests, where      letters received from courts, and absent from Baker's
defendant had answered complaint, rather than moving to          new allegations is any suggestion that he exhausted his
dismiss or seeking summary judgment, and had not sought          administrative remedies with respect to this conduct.
a stay of discovery or a protective order barring or limiting    While Baker was not required to make such an allegation
discovery).                                                      under Jones, given the prominence of exhaustion as an
                                                                 issue in this litigation, Baker's silence on this point is
Nonetheless, the Court will deny the motion to compel in         notable. In light of the Court's determination that the
light of its disposition of Baker's claims. The information      BOP's mail policies are constitutional, adding allegations
sought by Baker in his interrogatories is similar in             of new instances of adherence to that policy creates no
kind to that which he identified in his Rule 56(f)               new viable claims, and amendment may be denied as
request to delay consideration of the Defendants' motion         futile. See Martinez v. Junta de Planificacion de Puerto
for summary judgment. While it may be generally                  Rico, 736 F.Supp. 413, 422 (D.Puerto Rico 1990) (motion
relevant to his claims, it has no bearing upon the               to amend complaint filed after defendant has moved for
dispositive questions raised by the Defendants with              summary judgment will not be granted unless plaintiff
respect to his exhaustion of administrative remedies or the      can show substantial merit of proposed amendment and
constitutionality of the BOP regulations. A court should         comes forward with substantial and convincing evidence
deny a motion to compel where the information sought             for newly asserted claim).
will not undermine a summary judgment granted on other
grounds. Cf. Brown v. Inter Ocean Ins. Co., 438 F.Supp.
951, 955 (N.D.Ga.1977) (where insurer was entitled               III. Conclusion
to summary judgment in diversity breach of contract               *8 Accordingly, IT IS ORDERED that:
action brought by widow of life insurance applicant,
any further inquiry into insurer's normal practices or           1. Defendants' Motion to Dismiss, or in the Alternative,
procedures for processing insurance applications and             Motion for Summary Judgment [R. 51] is GRANTED.
issuing policies was unwarranted and, therefore, the
widow's motion to compel the insurer to answer certain           2. Plaintiff's Complaint      is   DISMISSED       WITH
questions propounded to its employee regarding other             PREJUDICE.
pending lawsuits was denied).
                                                                 3. Plaintiff's Motion for Leave to File and Serve
Baker has also filed a motion to file an amended complaint       Supplemental Complaint [R. 56] and Motion to Compel
to add further allegations regarding the handling of mail        Answers to Interrogatories [R. 57] are DENIED.



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Baker v.Case
        Holder,1:18-cv-00068       Document
                Not Reported in F.Supp.2d (2010)395-1      Filed on 06/10/19 in TXSD Page 9 of 20
2010 WL 1334924

4. The Court will enter an appropriate Judgment.
                                                              All Citations
5. This matter is CLOSED and shall be stricken from the
active docket.                                                Not Reported in F.Supp.2d, 2010 WL 1334924

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                            Tab 2




                                                               Fed. Defs. 009
      Case
Guajardo      1:18-cv-00068
         v. Martinez, Not ReportedDocument
                                  in F.Supp.3d395-1
                                              (2015)       Filed on 06/10/19 in TXSD Page 11 of 20
2015 WL 12831683

                                                             LLP (collectively “Attorney Defendants”). Dkt. No.
                                                             1. Plaintiffs filed their First Amended Complaint on
                 2015 WL 12831683
                                                             February 26, 2015. Dkt. No. 4. On April 13, 2015,
   Only the Westlaw citation is currently available.
                                                             Martinez Defendants, along with all other defendants,
            United States District Court,
                                                             jointly filed a motion to dismiss all of Plaintiffs' claims.
         S.D. Texas, Corpus Christi Division.
                                                             Dkt. No. 30. Plaintiffs responded on June 4, 2015. Dkt.
          Gary GUAJARDO, et al, Plaintiffs,                  No. 40, and Defendants filed their reply, Dkt. No. 45.
                         v.                                  Attorney Defendants filed a separate brief, and the Court
          Alfredo Ricardo MARTINEZ; aka                      permitted Plaintiffs to file a sur-reply. Dkt. No. 51. The
                                                             motion to dismiss remains pending before this Court.
       Freddie Martinez, Jr., et al, Defendants.

                CIVIL NO. 2:14–CV–450                        According to the instant motion, Plaintiff Gary Guajardo
                           |                                 (“Guajardo”) served his First Request for Production to
                  Signed 12/22/2015                          Martinez Defendants on October 30, 2015. Dkt. No. 55, ¶
                                                             5. Defendants request that the Court stay discovery until
Attorneys and Law Firms                                      the Court has ruled on Defendants' pending motion to
                                                             dismiss. Dkt. No. 55, ¶ 6. Defendants argue that the court
David Wesley Showalter, Heather Scilley von Sternberg,       has broad discretion over discovery matters, and a stay is
Showalter Law Firm, Richmond, TX, for Plaintiffs.            warranted here because discovery would be costly given
                                                             the voluminous requests. Dkt. No. 55, ¶ 9. Defendants
J A Tony Canales, Canales Simonson PC, Paul G.
                                                             state that the stay will preclude “enormously expensive
Kratzig, Paul G. Kratzig Assoc, Corpus Christi, TX, Lynn
                                                             and unnecessary discovery, including the responses and
Hamilton Butler, Husch Blackwell LLP, April E. Lucas,
                                                             production of ten sets of discovery propounded upon
Douglas D. Dodds, McGinnis Lochridge et al, Austin,
                                                             Martinez Defendants, and other litigation expenses until
TX, for Defendants.
                                                             preliminary questions ... are determined.” Dkt. No. 55,
                                                             ¶ 2. Defendants request that discovery be stayed until
                                                             the Court has determined which causes of action, if
                        ORDER
                                                             any, will move forward. Dkt. No. 55, ¶ 9. Defendants
Hilda Tagle, Senior United States District Judge             argue that Plaintiffs will not suffer prejudice as a result
                                                             of the stay. Dkt. No. 55, ¶ 9. In their motion joining
 *1 BE IT REMEMBERED that on December 22, 2015               Martinez Defendants' motion to stay discovery, Attorney
the Court GRANTED Martinez Defendants' Motion to             Defendants argue that the case should be stayed pending
Stay Discovery Pending the Disposition of Defendants'        the Court's ruling on the motion to dismiss pursuant to
Motion to Dismiss, Dkt. No. 55, and Defendants Husch         the mandate of the Texas Anti–SLAPP statute. Dkt. No.
Blackwell LLP's and Lynn Hamilton Butler's Joinder           57, ¶ 1. Attorney Defendants state that Plaintiff Guajardo
to Motion to Stay Discovery Pending Disposition of           served his First Request for Production on October 21,
Defendants' Motion to Dismiss, Dkt. No. 57.                  2015 and included twenty-four requests for production.
                                                             Dkt. No. 57, ¶ 4. Attorney Defendants state that they
On November 12, 2014, Plaintiffs filed the instant           seek dismissal of Plaintiffs claims under the Texas Anti–
suit alleged violations of the Racketeer Influenced and      SLAPP statute, and that the statute stays all discovery
Corrupt Organizations (“RICO”) Act against Defendants        pending the Court's ruling on the motion to dismiss. Dkt.
Alfredo Ricardo Martinez, Jr. a.k.a. Freddie Martinez,       No. 57, ¶ 7.
Jr., JoAnn Hobbs, John Martinez, Marc Martinez,
Eloy Leija, Marfre, LLC, Martzcom Music, LLC,                 *2 In response, Plaintiffs argue that Defendants fail to
SCMP, LLC, A.R. Martinez Family Limited Partnership,         allege that they will suffer prejudice or undue burden if
Martinez Land and Buffalo Company, LLC, ELM                  discovery proceeds. Dkt. No. 58, ¶ 10. Plaintiffs argue
Land and Buffalo Company, LLC, and Brothers Trei,            that the Martinez Defendants' motion to stay discovery
Ltd. (collectively “Martinez Defendants”), as well as        rests on the assumption that the Court will grant their
against Lynn Hamilton Butler and Husch Blackwell             motion to dismiss or at least dismiss some claims. Dkt.



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      Case
Guajardo      1:18-cv-00068
         v. Martinez, Not ReportedDocument
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                                              (2015)           Filed on 06/10/19 in TXSD Page 12 of 20
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No. 58, ¶ 12. Plaintiffs contest that, even if some claims         (5th Cir. 1990) (upholding the district court's grant of a
are dismissed, the causes of action are so intertwined             stay pending the court's ruling on a motion for summary
that the discovery requests propounded would still be              judgment because movants met their burden of showing
necessary. Dkt. No. 58, ¶ 14. Plaintiffs also note that the        why the discovery sought would be unduly expensive and
parties have already undertaken significant investigation          burdensome).
of the facts in the case, but Plaintiffs' RICO claims
require further discovery, and Plaintiffs allege hiding and        Here, Defendants have met their burden to show
concealing property and information as part of the basis           that discovery would be expensive and burdensome if
of Defendants' alleged racketeering activities. Dkt. No. 58,       Defendants must conduct discovery prior to the Court's
¶ 16. Plaintiffs argue that a stay would disproportionately        ruling on the motion to dismiss. Because Plaintiffs
impact and harm them. Dkt. No. 58, ¶ 16. Plaintiffs                allege complex claims under civil RICO, Defendants'
further argue that Attorney Defendants failed to follow            concerns about the cost and inconvenience of discovery
necessary procedure under the Texas Anti–SLAPP statute             are reasonable. Additionally, Plaintiffs represent that they
to warrant an automatic stay of discovery pending a                have begun an investigation into the facts of the case that
motion to dismiss under that statute. Dkt. No. 58, ¶¶ 17–          formed the basis of their pleadings. The Court infers that
19.                                                                Plaintiffs' allegations that form the basis of their RICO
                                                                   claims developed from discovery in a related case in the
“District courts have broad discretion in all discovery            Houston Division, which involved the same parties as the
matters.” Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d        instant case. See Guajardo v. Freddie Records, Inc., Case
266, 270 (5th Cir. 2006). However, the “the issuance of            No. 4:10–cv–2024. With Defendants' motion to dismiss
a stay is by no means automatic.” United States ex rel.            pending, Defendants have shown good cause for staying
Gonzalez v. Fresenius Med. Care North America, 571 F.              discovery.
Supp. 2d 766, 768 (W.D. Tex. 2008) (citation omitted).
                                                                   The Court therefore finds there is good cause for staying
A district court has discretion to stay discovery “for
                                                                   discovery until it rules on the motion to dismiss. The Court
good cause shown.” Fed. R. Civ. P. 26(c). Good cause
                                                                   GRANTS Martinez Defendants' motion to stay discovery
may exist if the party seeking the stay demonstrates
                                                                   and Attorney Defendants' motion to join Martinez
that “annoyance, embarrassment, oppression, or undue
                                                                   Defendants' motion to stay discovery. The Court STAYS
burden or expense” would result absent the stay. Fed.
                                                                   all discovery deadlines pending its ruling on the motion to
R. Civ. P. 26(c). It also “may be appropriate where the
                                                                   dismiss.
disposition of a motion to dismiss might preclude the need
for discovery altogether thus saving time and expense.”
United States ex rel. Gonzalez, 571 F. Supp. 2d at 768             All Citations
(internal quotation marks omitted); see also Landry v. Air
Line Pilots Ass'n Int'l AFL–CIO, 901 F.2d 404, 435–36              Not Reported in F.Supp.3d, 2015 WL 12831683

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                            Tab 3




                                                               Fed. Defs. 012
      Case
Von Drake     1:18-cv-00068
          v. National BroadcastingDocument
                                   Co., Inc., Not395-1
                                                  ReportedFiled  on 06/10/19
                                                           in F.Supp.2d (2004)       in TXSD Page 14 of 20
2004 WL 1144142

                                                                 requests seeking, inter alia, detailed information about
                                                                 the 6,000 people who applied for the singing competition,
     KeyCite Yellow Flag - Negative Treatment                    federal tax returns for the past five years, and copies
Distinguished by Griffin v. American Zurich Insurance Company,
                                                                 of felony arrest records regarding Tom Touchet, Robert
N.D.Tex., March 18, 2015
                                                                 Wright, and Anthony Lock. Defendants timely removed
                  2004 WL 1144142
    Only the Westlaw citation is currently available.            the case to federal court on March 29, 2004. 1 Shortly
             United States District Court,                       thereafter, defendants filed a motion to dismiss plaintiff's
             N.D. Texas, Dallas Division.                        complaint for failure to state a claim upon which relief
                                                                 can be granted. That motion is currently pending before
             Eric VON DRAKE Plaintiff,                           the district judge. Defendants now seek a temporary stay
                        v.                                       of discovery pending a ruling on their motion to dismiss.
            NATIONAL BROADCASTING                                Plaintiff has filed a response in opposition to a stay of
          COMPANY, INC., et al. Defendants.                      discovery and the motion is ripe for determination.

                    No. 3-04-CV-0652R.
                             |
                                                                                              II.
                      May 20, 2004.
                                                                 A federal district court has discretion to stay discovery
Attorneys and Law Firms
                                                                 “for good cause shown.” FED. R. CIV. P. 26(c). While
Eric Von Drake, Richardson, TX, pro se.                          discovery may be stayed pending the outcome of a
                                                                 motion to dismiss, “the issuance of stay is by no means
Robert P Latham, Alisha LaRochelle Danchak, Jackson              automatic.” Spencer Trask Software and Information
Walker, Dallas, TX, for Defendants.                              Services, LLC v. RPost International Limited, 206 F.R.D.
                                                                 367, 368 (S.D.N.Y.2002), quoting In re WRT Energy
                                                                 Securities Litigation, 1996 WL 580930 at *1 (S.D.N.Y.
               MEMORANDUM ORDER                                  Oct.9, 1996). Among the factors that inform the court's
                                                                 discretion are: (1) the breadth of discovery sought; (2)
KAPLAN, Magistrate J.                                            the burden of responding to such discovery; and (3)
                                                                 the strength of the dispositive motion filed by the party
 *1 Defendants National Broadcasting Company, Inc.               seeking a stay. Id., citing Anti-Monopoly, Inc. v. Hasbro,
and Tom Touchet have filed a motion for a temporary stay         Inc., 1996 WL 101277 at *3 (S.D.N.Y. Mar.7, 1996) and
of discovery pending a ruling on their motion to dismiss.        Gandler v. Nazarov, 1994 WL 702004 at *4 (S.D.N.Y.
For the reasons stated herein, the motion is granted.            Dec.14, 1994). A stay of discovery may be appropriate
                                                                 where the disposition of a motion to dismiss “might
                                                                 preclude the need for the discovery altogether thus saving
                              I.                                 time and expense.” Landry v. Air Line Pilots Ass'n
                                                                 International AFL-CIO, 901 F.2d 404, 436 (5th Cir.), cert.
This is a pro se race and age discrimination case brought        denied, 111 S.Ct. 244 (1990). See also Nankivil v. Lockheed
under the Texas Commission on Human Rights Act                   Martin Corporation, 216 F.R.D. 689 (M.D.Fla.2003),
(“TCHRA”), Tex. Lab.Code Ann. § 21.001, et seq., with            aff'd, 87 Fed.Appx. 713, 2003 WL 22669331 (11th Cir.
a related claim for intentional infliction of emotional          Oct.23, 2003), cert. denied, 2004 WL 540542 (U.S. May
distress. Plaintiff Eric Von Drake, a 49-year old African-       17, 2004) (citing cases) (good cause to stay discovery exists
American male, accuses the defendants of discrimination          where “resolution of preliminary motion may dispose of
for failing to select him as a finalist for a singing            entire action”).
competition produced by the Today Show. On February
27, 2004, plaintiff filed suit in Texas state district court.     *2 Although the magistrate judge cannot predict the
Defendants were served by certified mail on March                outcome of defendants' motion to dismiss, a cursory
3, 2004. Along with the complaint, plaintiff served              review of the motion reveals that defendants have
defendants with multiple interrogatories and document            substantial arguments for dismissal of many, if not all, of


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      Case
Von Drake     1:18-cv-00068
          v. National BroadcastingDocument
                                   Co., Inc., Not395-1
                                                  ReportedFiled  on 06/10/19
                                                           in F.Supp.2d (2004)             in TXSD Page 15 of 20
2004 WL 1144142

                                                                     Defendants' motion for a temporary stay of discovery is
plaintiff's claims. Moreover, many of the interrogatories
                                                                     granted. All discovery in this case is stayed pending a
and document requests served on defendants are overly
                                                                     ruling on defendants' motion to dismiss.
broad and harassing. Plaintiff has not shown that a
temporary stay of discovery will substantially or unduly
                                                                     SO ORDERED.
delay the litigation should his claims survive summary
dismissal. Under these unique circumstances, a stay is
warranted. 2                                                         All Citations

                                                                     Not Reported in F.Supp.2d, 2004 WL 1144142

                      CONCLUSION



Footnotes
1      Although plaintiff alleges only state statutory and common law causes of action, he seeks “liquidated damages pursuant
       to the Fair Labor Standards Act.” (See Plf. Compl. at 9, ¶ 29). Defendants therefore removed this action on the basis of
       federal question jurisdiction. See 28 U.S.C. § 1331. Alternatively, defendants maintain that federal diversity jurisdiction
       is proper because the parties are citizens of different states and the amount in controversy exceeds $75,000, exclusive
       of interest and costs. See 28 U.S.C. § 1332(a)(1).
2      The court takes judicial notice that plaintiff is no stranger to the civil justice system, having filed more than 26 lawsuits in
       the past five years. (See Def. Mot., Exh. 1 at 29-33). At a recent hearing before another judge in this district, plaintiff was
       chastised for “attempting to make a mockery of the federal system.” (Id., Exh. 1 at 19).


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                            Tab 4




                                                               Fed. Defs. 015
Adame Case   1:18-cv-00068
      v. Refugio                Document
                 County, Not Reported         395-1(2018)
                                      in Fed. Supp.   Filed        on 06/10/19 in TXSD Page 17 of 20
2018 WL 1918656, 2018 Fair Empl.Prac.Cas. (BNA) 144,262

                                                               purposes of Magistrate Judge review to require a de
                                                               novo reconsideration of the entirety of an M&R without
                  2018 WL 1918656
                                                               specific complaints.
           United States District Court, S.D.
            Texas, Corpus Christi Division.
                                                               Plaintiff’s objections largely take the form of general
              Ricardo ADAME, Plaintiff,                        discussions of the law (regarding the standards of review
                         v.                                    both on summary judgment and under Rule 60) and the
            REFUGIO COUNTY, Defendant.                         facts (regarding both the merits and the discovery of
                                                               the statement made to Dickey). He further requests to
             CIVIL ACTION NO. 2:16-CV-139                      incorporate by reference material set out in prior filings.
                            |                                  However, such briefing does not advise the Court of any
                   Signed 04/24/2018                           particular error in the Magistrate Judge’s analysis.

Attorneys and Law Firms                                        Plaintiff’s general briefing fails to satisfy the specific-
                                                               objection requirement of Rule 72(b). Even though the
David Eric Wood, Attorney at Law, McAllen, TX, for
                                                               briefing may contain hints of objections, it is not for the
Plaintiff.
                                                               Court to sift through and formulate those objections for
Casey Terrence Cullen, Cullen Carsner Seerden and              Plaintiff. Malacara v. Garber, 353 F.3d 393, 405 (5th Cir.
Cullen LLP, Victoria, TX, for Defendant.                       2003). Except as addressed below, the Court will therefore
                                                               disregard any briefing not directed to a specific objection.

                                                               The Court’s review of Plaintiff’s filing reveals only two
       ORDER ADOPTING MEMORANDUM
                                                               explicitly stated objections:
          AND RECOMMENDATION
                                                                 1. General Objection: The M&R’s “Factual and
NELVA GONZALES RAMOS, UNITED STATES
                                                                   Procedural Background” describes the case under the
DISTRICT JUDGE
                                                                   wrong standard, failing to draw inferences in favor of
 *1 Before the Court is Plaintiff Ricardo Adame’s Motion           Plaintiff and giving insufficient weight to evidence of
for Relief from Final Judgment and Order (D.E. 49),                pretext; and
seeking relief under Fed. R. Civ. P. 60(b). Plaintiff claims
                                                                 2. Rule 60(c) Objection: The M&R errs in treating
that his former supervisor, Refugio County Sheriff Robert
                                                                   August 18, 2017, as the date on which Plaintiff’s
Bolcik, made a statement to a former co-worker, Timothy
                                                                   counsel became aware of the newly discovered
Lee Dickey, which substantiates his racial discrimination
                                                                   evidence because counsel could not act on the
claim. 1 Plaintiff did not discover this statement, which          evidence until Dickey agreed to sign his affidavit
was allegedly made prior to his filing this action, until          making the matter admissible.
after this Court issued judgment in this case. On December
11, 2017, United States Magistrate Judge Jason B. Libby        Plaintiff’s intent to lodge a third objection clearly emerges
issued a Memorandum and Recommendation (M&R)                   from his filing, so the Court will also review the M&R’s
recommending that the Court deny Plaintiff’s motion.           recommendation to deny relief on the grounds that
D.E. 51. Plaintiff timely objected. D.E. 52.                   Plaintiff did not meet the diligence requirement from
                                                               Rule 60(b)(2). The Court deems waived any objections
Plaintiff was informed in a Notice to Parties following        to the M&R’s recommendation to deny relief under the
the substance of the M&R that it was subject to adoption       remaining subsections of Rule 60(b).
by this Court absent objections to the recommendations.
D.E. 51, p. 11. Rule 72(b) requires that objections be
specific. See SciCo Tec GmbH v. Boston Scientific Corp.,         A. Objection to Factual and Procedural Background
599 F. Supp. 2d 741, 743 (E.D. Tex. 2009) (nonspecific,         *2 Plaintiff objects to the M&R’s “Factual and
conclusory objections “are no better than a complete           Procedural Background” discussion “because it fails to
failure to object”). It would defeat the judicial efficiency   properly consider plaintiff’s evidence” and “fails to draw



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Adame Case   1:18-cv-00068
      v. Refugio                Document
                 County, Not Reported         395-1(2018)
                                      in Fed. Supp.   Filed        on 06/10/19 in TXSD Page 18 of 20
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the inferences from the evidence in his favor.” See D.E. 52,    is inaccurate, or that the Magistrate Judge erred in
p. 1. He also devotes much of his filing to recounting facts    concluding that nearly four months elapsed from when
that were already in the record. Id. at 1–2, 7–8. Plaintiff’s   Plaintiff discovered the new evidence to when he filed his
objection is misplaced, as he is not entitled to inferences     motion. Instead, he contends that Dickey did not agree
in his favor under Rule 60(b), the authority under which        to sign his affidavit until October 1 and thus Plaintiff’s
he now must proceed.                                            motion, filed the next day, was made within a reasonable
                                                                time. Id. The Court finds no error with the M&R’s finding
The burden of proof to satisfy the requirements of              that Plaintiff’s counsel learned of the evidence on August
Rule 60(b) lies on Plaintiff as movant, and the matter          18, 2017.
is entrusted to the Court’s discretion. United States v.
Harrison Cty., Miss., 463 F.2d 1328, 1330 (5th Cir. 1972)       Plaintiff makes an additional argument regarding
(burden of proof on Rule 60(b) movant); Delgado v. Shell        timeliness. Citing Rule 60(b)(1), which allows the Court
Oil Co., 231 F.3d 165, 182 (5th Cir. 2000) (Rule 60(b)          to vacate a judgment or order based on “mistake,
standard of review is abuse of discretion). Nothing in the      inadvertence, surprise, or excusable neglect,” Plaintiff
standard of review suggests that, on a Rule 60 motion,          asks the Court to excuse the two-month period during
Plaintiff is entitled to any inferences in his favor. 2         which Plaintiff knew of Dickey’s evidence, but his counsel
                                                                was not yet aware of it. D.E. 52, p. 6. Plaintiff contends
Additionally, the factual recitation to which Plaintiff         that his error in not promptly informing his attorney of
objects merely summarizes the procedural posture of the         the new evidence is excusable because Plaintiff, as a non-
litigation and the Court’s prior holdings. It does not relate   lawyer, mistakenly thought it was too late to submit any
to his claim of newly discovered evidence or the issue of       new evidence. Id. at 8–9. The Court therefore construes
due diligence and timeliness in having failed to discover       Plaintiff’s reference to Rule 60(b)(1) as an argument that
the evidence and present his motion sooner. The Court           the Court should find that his motion was made within a
finds no error with the M&R’s discussion of the facts, nor      reasonable time.
is a Rule 60(b) motion “the proper vehicle for rehashing
old arguments.” Frazier v. Map Oil Tools, Inc., 725 F.           *3 Even if the date Plaintiff learned of the evidence is
Supp. 2d 597, 609 (S.D. Tex. 2010) (quoting Resolution          disregarded, the M&R appropriately observed that the
Trust Corp. v. Holmes, 846 F. Supp. 1310, 1316 (S.D. Tex.       evidence was available and could have been discovered
1994) ) (internal quotation marks omitted). This objection      years earlier through due diligence. The Court further
is OVERRULED.                                                   agrees with the M&R that Plaintiff has failed to show the
                                                                required “good reason for the failure to take appropriate
                                                                action sooner.” 11 CHARLES ALAN WRIGHT &
   B. Objection Under Rule 60(c)(1)                             ARTHUR R. MILLER, FED. PRAC. & PROC. § 2866
The second of Plaintiff’s explicit objections relates to the    (3d ed.). Plaintiff has not explained what measures, if
M&R’s recommendation to deny his motion because it              any, were taken to try to secure the testimony sooner,
was not brought within a reasonable time. See D.E. 51,          whether the testimony could have been compelled, or
p. 6. Setting aside, for now, whether Plaintiff exercised       whether counsel could have filed the motion and sought
sufficient diligence to learn of the evidence upon which        additional time or the Court’s assistance in securing the
he now relies, the question is whether his motion was           necessary evidence. His objections under Rule 60(c)(1) are
filed within a reasonable time of his actually discovering      OVERRULED.
the evidence. See Fed. R. Civ. P. 60(c)(1) (motions
under Rules 60(b)(1), (2), and (3) “must be made within
a reasonable time,” not to exceed one year after the               C. Objection Under Rule 60(b)(2)
judgment or order the motion seeks to vacate).                  Finally, Plaintiff’s filing invokes Rule 60(b)(2), which
                                                                relates to “newly discovered evidence that, with
Specifically, Plaintiff “objects to the memorandum’s            reasonable diligence, could not have been discovered in
notation about Plaintiff’s counsel becoming aware of            time to move for a new trial under Rule 59(b).” Plaintiff
the conversation between Dickey and Bolcik on August            also addresses some of the requirements for relief under
18, 2017.” D.E. 52, p. 9. He does not claim this                that Rule. The Court will therefore review the M&R’s
                                                                recommendation to deny relief under this provision.


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Adame Case   1:18-cv-00068
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                                                                    discoverable information. See D.E. 52, pp. 6–7. This
                                                                    argument also fails.
To succeed under Rule 60(b)(2), Plaintiff must show
“(1) that [he] exercised due diligence in obtaining the
                                                                    Even if the Court assumes that Sheriff Bolcik made
information; and (2) that the evidence is material and
                                                                    the alleged comment and that the County knew about
controlling and clearly would have produced a different
result if present before the original judgment.” Goldstein          it, 4 Plaintiff’s complaint never mentioned Dickey or
v. MCI WorldCom, 340 F.3d 238, 257 (5th Cir. 2003).                 referenced the comment, so there was no pertinent
                                                                    allegation for the County to admit or deny. Nor would
Due Diligence. Plaintiff claims that he “had no way to              Rule 26(a)(1) have required the County to disclose Dickey,
obtain Mr. Dickey’s information before he volunteered               unless the County expected to use him to support its case.
it.” D.E. 52, p. 6. This assertion assumes that Plaintiff had       See Fed. R. Civ. P. 26(a)(1) (party required to provide
no obligation to investigate his case by such measures as           names of individuals having discoverable information
asking co-workers if they had any information relevant to           that supports the party’s claims or defenses); see also 8A
his employment discrimination claim. See generally Fed.             WRIGHT & MILLER, § 2053 (Under Rule 26(a)(1), “a
R. Civ. P. 11(b). Plaintiff has failed to meet his burden           party is not required to disclose material that will solely
of proof to show that, despite the exercise of reasonable           aid its opponent....”). 5 This objection is OVERRULED.
diligence, he would not have discovered Dickey’s evidence
in time to include it in a response to the summary judgment          *4 For the foregoing reasons, the Court OVERRULES
motion or to move for a new trial under Rule 59(b).                 Plaintiff’s objections, ADOPTS as its own the findings of
Plaintiff thus fails to meet the diligence test. 3                  fact and conclusions of law from the M&R, and DENIES
                                                                    Plaintiff’s motion.
Defendant’s Silence. Plaintiff claims that Defendant
Refugio County (the County) is responsible for his                  ORDERED this 24th day of April, 2018.
tardiness in discovering Dickey’s evidence, as it should
have named Dickey either (1) when answering the
                                                                    All Citations
complaint’s allegation that Sheriff Bolcik is prejudiced
against Hispanics; or (2) as a possible witness with                Not Reported in Fed. Supp., 2018 WL 1918656, 2018 Fair
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Footnotes
1      Specifically, Dickey avers that Sheriff Bolcik told him that Plaintiff “was a ‘worthless fuckin Mexican’ and he had fired him.”
       D.E. 49-1, p. 1. Defendant denies that Sheriff Bolcik made the statement. D.E. 53, p. 2.
2      Plaintiff complains that the Magistrate Judge improperly credited the County’s denial of Dickey’s allegation, instead of
       recognizing the disputed truth of the affidavit as a fact issue precluding summary judgment. See D.E. 52, pp. 9–10.
       Because this motion is under Rule 60, not Rule 56, this argument fails. The Court need not, and does not, reach any
       conclusion regarding the veracity of the statement or whether it is appropriately disputed.
3      Because Plaintiff cannot clear the diligence threshold, the Court need not consider whether Dickey’s affidavit constitutes
       direct evidence of discrimination or whether the Court would have ruled differently on summary judgment had Dickey’s
       affidavit then been part of the record. See D.E. 52, p. 6.
4      Plaintiff complains that the M&R assumes, in Defendant’s favor, that Sheriff Bolcik did not, in fact, make the statement.
       No such assumption was made. The M&R merely observed that there are a number of reasons that the statement might
       not have been disclosed. It is Plaintiff’s burden to show any wrongdoing on Defendant’s part and he has failed to submit
       evidence in satisfaction of that burden.
5      Although initial disclosures are not to be filed with the Court under Rule 5(d), the County filed such disclosures. (D.E. 23).
       The Court notes that the County’s disclosures appear to rely on an outdated version of Rule 26(a)(1). Specifically, the
       County’s filing refers to “disputed facts alleged with particularity,” a phrase that has not appeared in Rule 26(a)(1) since
       the 2000 amendments to the Federal Rules of Civil Procedure. See 8A WRIGHT & MILLER, § 2053. The Court will not
       consider the adequacy of the County’s disclosures under any standard but the controlling one.




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